

Matter of Pineda v Santana (2025 NY Slip Op 03007)





Matter of Pineda v Santana


2025 NY Slip Op 03007


Decided on May 15, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 15, 2025

Before: Renwick, P.J., Kapnick, Mendez, Pitt-Burke, Michael, JJ. 


Index No. 154819/25|Appeal No. 4545|Case No. 2025-02823|

[*1]In the Matter of Alexander Lorenzo Reyes Pineda, et al., Petitioners-Appellants, 
vRaymond Santana, et al., Respondents-Respondents.


Law Office of Aaron S. Foldenauer, New York (Aaron S. Foldenauer of counsel), for appellants.
Martin E. Connor, Brooklyn, for Raymond Santana, respondent.



Judgment, Supreme Court, New York County (Jeffrey H. Pearlman, J.), entered May 06, 2025, unanimously affirmed for the reasons stated by Jeffrey H. Pearlman, J., without costs or disbursements.
No opinion. Order filed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 15, 2025








